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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF ILLINOIS


DONALD COX,

            Plaintiff,                            Civil Action No.: 3:24-pq-2165
v.

SYNGENTA AG; SYNGENTA CROP
PROTECTION, LLC; CHEVRON U.S.A., JURY TRIAL DEMANDED
INC.; and DOES 1 through 60 inclusive,

        Defendants.

                                          COMPLAINT

       Plaintiff DONALD COX, by and through counsel alleges upon information and belief and

complains of Defendants Syngenta AG (“SAG”) and Syngenta Crop Protection, LLC

(“SCPLLC”) (together with their predecessors-in-interest, referred to collectively as the

“Syngenta Defendants”); Chevron U.S.A., Inc. (together with its predecessors-in-interest, referred

to collectively as the “Chevron Defendants”); and Does One through Sixty, states:

                                 STATEMENT OF THE CASE

       1.       Plaintiff DONALD COX suffers from Parkinson’s disease caused by his exposure

to the herbicide Paraquat.

       2.       Plaintiff DONALD COX is an Arkansas resident and citizen.

       3.       Defendants are companies that since the 1960s have manufactured, distributed,

licensed, marketed, and sold Paraquat for use in the United States, including Arkansas.

       4.       Plaintiff brings this action to recover damages for personal injuries resulting from

the injured Plaintiff’s exposures to Paraquat manufactured, distributed, and sold by Defendants.

       5.       Defendants’ tortious conduct, including their negligent acts and omissions in the

research, testing, design, manufacture, marketing, and sale of Paraquat, caused Plaintiff injuries.

At all relevant times, Defendants knew or, in the exercise of reasonable care, should have known

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that Paraquat was a highly toxic substance that can cause severe neurological injuries and

impairment, and should have taken steps in their research, manufacture, and sale of Paraquat to

ensure that people would not be harmed by foreseeable uses of Paraquat.

                                         JURISDICTION

        6.      This Court has jurisdiction over Defendants and this action pursuant to 28 U.S.C.

§ 1332 because there is complete diversity of citizenship between Plaintiff and each Defendant.

Plaintiff is, and at all relevant times was, a citizen of the State of Arkansas. SCPLLC is a

Delaware limited liability company organized and existing under the laws of the State of

Delaware with its principal place of business in North Carolina. SCPLLC’s sole member is

Syngenta Seeds, LLC. The sole member of Syngenta Seeds, LLC is Syngenta Corporation,

which is a Delaware corporation with its principal place of business in Delaware. SAG is a

foreign corporation with its principal place of business in Basel, Switzerland. Chevron U.S.A., Inc.

is a Pennsylvania corporation with its principal place of business in San Ramon in Contra Costa

County, California.

        7.      The amount in controversy between Plaintiff and Defendants exceeds $75,000,

exclusive of interest and costs.

                                              VENUE

        8.      Venue is proper within the Southern District of Illinois pursuant to Case

Management Order No. 1 of MDL No. 3004, In re: Paraquat Products Liability Litigation,

allowing cases that would be subject to transfer to the MDL to be filed directly in the Southern

District of Illinois.   In re: Paraquat Products Liability Litigation, 3:21-md-03004-NJR, ECF

Document #16. This complaint alleges injury due to Paraquat, is subject to jurisdiction of the

federal courts due to the diversity of the parties, and is subject to transfer pursuant to 28 U.S.C. §



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1407 and the transfer order of the Judicial Panel on Multidistrict Litigation. In re: Paraquat

Products Liability Litigation, --- F. Supp. 3d ----, 2021 WL 2369295 (J.P.M.L. June 7, 2021).

                                            PARTIES

       9.      The true names or capacities whether individual, corporate, governmental or

associate, of the defendants named herein as Doe are unknown to Plaintiff who therefore sues

said defendants by such fictitious names. Plaintiff prays for leave to amend this Complaint to

show their true names and capacities and/or bases for liability when the same have been finally

determined.

       10.      Plaintiff is informed and believes, and upon such information and belief alleges,

that each of the defendants designated herein as Doe is strictly, negligently, or otherwise legally

responsible in some manner for the events and happenings herein referred to, and negligently or

otherwise caused injury and damages proximately to Plaintiff as is hereinafter alleged.

       11.      At all times herein mentioned, each and every one of the Defendants was the

agent, servant, employee, joint venturer, alter ego, successor-in-interest, and predecessor-in-

interest of each of the other, and each was acting within the course and scope of their agency,

service, joint venture, alter ego relationship, employment, and corporate interrelationship.

       12.      U.K. manufacturer Imperial Chemical Industries Ltd. a/k/a Imperial Chemical

Industries PLC (“ICI”) first introduced Paraquat to world markets in or about 1962 under the

brand name GRAMOXONE®.

       13.      In or about 1971, ICI created or acquired a wholly-owned U.S. subsidiary

organized under the laws of the State of Delaware, which was ultimately known as ICI Americas

Inc. (“ICI Americas”).

       14.      Chevron Chemical Company was a corporation organized under the laws of the



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State of Delaware.

       15.      Pursuant to distribution and licensing agreements with ICI and ICI Americas,

Chevron Chemical Company had exclusive rights to distribute and sell Paraquat in the United

States and did in fact manufacture, formulate, distribute, and sell Paraquat in the United States,

including in Arkansas for use in Arkansas, from approximately 1964 until approximately 1986.

       16.      Chevron U.S.A., Inc. is the successor-in-interest to Chevron Chemical Company.

       17.      At all relevant times, Chevron Chemical Company acted as the agent of Chevron

U.S.A., Inc. in selling and distributing Paraquat in the U.S. At all relevant times, Chevron

Chemical Company was acting within the scope of its agency in selling and distributing

Paraquat. Chevron U.S.A., Inc. is liable for the acts of its agent.

       18.     From approximately 1964 through approximately 1986, pursuant to distribution

and licensing agreements with Chevron Chemical Company, SAG’s and/or SCPLLC’s

predecessors-in-interest, ICI and ICI Americas, and Does One through Sixty manufactured some

or all of the Paraquat that Chevron Chemical Company distributed and sold in the United States,

including in Arkansas for use in Arkansas.

       19.     From approximately 1964 through approximately 1986, pursuant to distribution

and licensing agreements between and among them, ICI, ICI Americas, Chevron Chemical

Company, and Does One through Sixty acted in concert to register, manufacture, formulate, and

distribute and sell (through Chevron Chemical Company) Paraquat for use in the U.S., including

in Arkansas for use in Arkansas, and their respective successors-in-interest, SAG, SCPLLC, and

Chevron U.S.A., Inc., are jointly liable for the resulting injuries alleged herein.

       20.     After 1986, SCPLLC, Does One through Sixty, and/or their predecessors-in-

interest sold and distributed and continue to sell and distribute Paraquat in the United States,



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including in Arkansas for use in Arkansas.

          21.      As a result of mergers and corporate restructuring, SAG is the successor-in-

interest to ICI.

          22.      As a result of mergers and corporate restructuring, SCPLLC is the successor-in-

interest to ICI Americas, Inc.

          23.      Thus, from approximately 1964 through the present, the Syngenta Defendants,

Does One through Sixty, or their predecessors-in-interest have manufactured, formulated,

distributed, and sold Paraquat for use in the U.S., including in Arkansas for use in Arkansas.

                            PLAINTIFF’S EXPOSURE TO PARAQUAT

          24.      Plaintiff DONALD COX was a farmer and the owner of Donald Cox Farms, who

was exposed to Paraquat from approximately 1975 to approximately 2001 in Cross County,

Arkansas: (1) when it was mixed, loaded, applied, and/or cleaned; (2) as a result of spray drift

(the movement of herbicide spray droplets from the target area to an area where herbicide

application was not intended, typically by wind); and/or (3) as a result of contact with sprayed

plants.

          25.      At all relevant times, it was reasonably foreseeable that when Paraquat was used

in the intended or a reasonably foreseeable manner, users of Paraquat and persons nearby would

be exposed to it.

          26.      At all relevant times, it was reasonably foreseeable that Paraquat could enter the

human body: (1) through absorption or penetration of the skin, mucous membranes, and other

epithelial tissues (including tissues of the mouth, nose and nasal passages, trachea, and

conducting airways, particularly where cuts, abrasions, rashes, sores, or other tissue damage

were present); (2) through the olfactory bulb; (3) through respiration into the lungs; and (4)



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through ingestion into the digestive tract of small droplets swallowed after entering the mouth,

nose, or conducting airways.

                      PARAQUAT CAUSES PARKINSON’S DISEASE

       27.     At all relevant times, it was reasonably foreseeable that Paraquat that entered a

human body could ultimately enter the brain.

       28.     At all relevant times, it was reasonably foreseeable that Paraquat that entered a

human body could induce the misfolding of the alpha synuclein protein.

       29.     Parkinson’s disease is a progressive neurodegenerative disorder of the brain that

affects primarily the motor system– the part of the central nervous system that controls movement.

       30.     The characteristic symptoms of Parkinson’s disease are its “primary” motor

symptoms: resting tremor (shaking movement when the muscles are relaxed), bradykinesia

(slowness in voluntary movement and reflexes), rigidity (stiffness and resistance to passive

movement), and postural instability (impaired balance).

       31.     Parkinson’s disease’s primary motor symptoms often result in “secondary” motor

symptoms such as freezing of gait; shrinking handwriting; mask-like expression; slurred,

monotonous, quiet voice; stooped posture; muscle spasms; impaired coordination; difficulty

swallowing; and excess saliva and drooling caused by reduced swallowing movements.

       32.     Non-motor symptoms—such as loss of or altered sense of smell; constipation;

low blood pressure on rising to stand; sleep disturbances; and depression—are present in most

cases of Parkinson’s disease, often for years before any of the primary motor symptoms appear.

       33.     There is currently no cure for Parkinson’s disease; no treatment will stop or

reverse its progression; and the treatments most commonly prescribed for its motor symptoms

tend to become progressively less effective, and tend to increasingly cause unwelcome side



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effects the longer they are used.

       34.     One of the primary pathophysiological hallmarks of Parkinson’s disease is the

selective degeneration and death of dopaminergic neurons (dopamine-producing nerve cells) in a

part of the brain called the substantia nigra pars compacta (“SNpc”).

       35.     Dopamine is a neurotransmitter (a chemical messenger that transmits signals from

one neuron to another neuron, muscle cell, or gland cell) that is critical to the brain’s control of

motor function (among other things).

       36.     The death of dopaminergic neurons in the SNpc decreases the production of

dopamine. Once dopaminergic neurons die, they are not replaced; when enough dopaminergic

neurons have died, dopamine production falls below the level the brain requires for proper

control of motor function, resulting in the motor symptoms of Parkinson’s disease.

       37.     The presence of Lewy bodies (insoluble aggregates of a protein called alpha-

synuclein) in many of the remaining dopaminergic neurons in the SNpc is another of the primary

pathophysiological hallmarks of Parkinson’s disease.

       38.     Dopaminergic neurons are particularly susceptible to oxidative stress, a

disturbance in the normal balance between oxidants present in cells and cells’ antioxidant

defenses.

       39.     Scientists who study Parkinson’s disease generally agree that oxidative stress is a

major factor in—if not the precipitating cause of—the degeneration and death of dopaminergic

neurons in the SNpc and the accumulation of Lewy bodies in the remaining dopaminergic

neurons that are the primary pathophysiological hallmarks of the disease.

       40.     Paraquat is highly toxic to both plants and animals, creating oxidative stress that

causes or contributes to cause the degeneration and death of plant or animal cells.



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        41.     Paraquat creates oxidative stress in the cells of plants and animals because of

“redox properties” that are inherent in its chemical composition and structure: it is a strong

oxidant, and it readily undergoes “redox cycling” in the presence of molecular oxygen, which is

plentiful in living cells.

        42.     The redox cycling of Paraquat in living cells interferes with cellular functions that

are necessary to sustain life– with photosynthesis in plant cells, and with cellular respiration in

animal cells. The redox cycling of Paraquat in living cells creates a “reactive oxygen species”

known as superoxide radical, an extremely reactive molecule that can initiate a cascading series

of chemical reactions that creates other reactive oxygen species that damage lipids, proteins, and

nucleic acids, molecules that are essential components of the structures and functions of living

cells. Because the redox cycling of Paraquat can repeat indefinitely in the conditions typically

present in living cells, a single molecule of Paraquat can trigger the production of countless

molecules of destructive superoxide radical.

        43.     Paraquat’s redox properties have been known to science since at least the 1930s.

        44.     It has been scientifically known since the 1960s that Paraquat (due to its redox

properties) is toxic to the cells of plants and animals. The same redox properties that make

Paraquat toxic to plant cells and other types of animal cells make it toxic to dopaminergic

neurons in humans– that is, Paraquat is a strong oxidant that interferes with the function of,

damages, and ultimately kills dopaminergic neurons in the human brain by creating oxidative

stress through redox cycling.

        45.     Paraquat is one of only a handful of toxins that scientists use to produce animal

models of Parkinson’s disease, i.e., use in a laboratory to artificially produce the symptoms of

Parkinson’s disease in animals.



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          46.   Animal studies involving various routes of exposure have found that Paraquat

creates oxidative stress that results in the degeneration and death of dopaminergic neurons in the

SNpc, other pathophysiology consistent with that seen in human Parkinson’s disease, and motor

deficits and behavioral changes consistent with those commonly seen in human Parkinson’s

disease.

          47.   Hundreds of in vitro studies (experiments in a test tube, culture dish, or other

controlled experimental environment) have found that Paraquat creates oxidative stress that

results in the degeneration and death of dopaminergic neurons (and many other types of animal

cells).

          48.   Epidemiological studies have found that exposure to Paraquat significantly

increases the risk of contracting Parkinson’s disease. A number of studies have found that the

risk of Parkinson’s disease is more than double in populations with occupational exposure to

Paraquat compared to populations without such exposure.

          49.   These convergent lines of evidence (toxicology, animal experiments, and

epidemiology) demonstrate that Paraquat exposure generally can cause Parkinson’s disease.

                                  PARAQUAT REGULATION

          50.   The Federal Insecticide, Fungicide, and Rodenticide Act (“FIFRA”), 7 U.S.C. §

136 et seq., which regulates the distribution, sale, and use of pesticides within the U.S., requires

that pesticides be registered with the U.S. Environmental Protection Agency (“EPA”) prior to

their distribution, sale, or use, except as described by FIFRA. 7 U.S.C. 136a(a).

          51.   Paraquat is a “restricted use pesticide” under federal law, see 40 C.F.R. § 152.175,

which means it is “limited to use by or under the direct supervision of a certified applicator,” and

it cannot be sold, used, or possessed by any person in Arkansas without the proper licensing and



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 permitting.

        52.       As part of the pesticide registration process, the EPA requires, among other

 things, a variety of tests to evaluate the potential for exposure to pesticides, toxicity to people

 and other potential non-target organisms, and other adverse effects on the environment.

        53.       As a general rule, FIFRA requires registrants, the chemical companies registered

 to sell the pesticides, to perform health and safety testing of pesticides. However, FIFRA does

 not require the EPA itself to perform health and safety testing of pesticides, and the EPA

 generally does not perform such testing.

        54.       The EPA registers (or re-registers) a pesticide if it is persuaded, based largely on

 studies and data submitted by the registrant, that: (1) its composition is such as to warrant the

 proposed claims for it, 7 U.S.C. § 136a(c)(5)(A); (2) its labeling and other material required to be

 submitted comply with the requirements of FIFRA, 7 U.S.C. § 136a(c)(5)(B); (3) it will perform

 its intended function without unreasonable adverse effects on the environment, 7 U.S.C. §

 136a(c)(5)(C); and (4) when used in accordance with widespread and commonly recognized

 practice it will not generally cause unreasonable adverse effects on the environment, 7 U.S.C. §

 136a(c)(5)(D).

        55.       FIFRA defines “unreasonable adverse effects on the environment” as “any

 unreasonable risk to man or the environment, taking into account the economic, social, and

 environmental costs and benefits of the use of any pesticide.” 7 U.S.C. § 136(bb).

        56.       Under FIFRA, “[a]s long as no cancellation proceedings are in effect registration

 of a pesticide shall be prima facie evidence that the pesticide, its labeling and packaging comply

 with the registration provisions of [FIFRA].” 7 U.S.C. § 136a(f)(2). However, FIFRA further

 provides that “[i]n no event shall registration of an article be construed as a defense for the



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 commission of any offense under [FIFRA].” 7 U.S.C. § 136a(f)(2).

        57.     The distribution or sale of a pesticide that is misbranded is an offense under FIFRA,

 which provides in relevant part that “it shall be unlawful for any person in any State to distribute or

 sell to any person ... any pesticide which is ... misbranded.” 7 U.S.C. § 136j(a)(1)(E). A pesticide is

 misbranded under FIFRA if, among other things: (1) its labeling bears any statement, design, or

 graphic representation relative thereto or to its ingredients which is false or misleading in any

 particular, 7 U.S.C. § 136(q)(1)(A); (2) the labeling accompanying it does not contain directions

 for use which are necessary for effecting the purpose for which the product is intended and if

 complied with, together with any requirements imposed under section 136a(d) of this title, are

 adequate to protect health and the environment, 7 U.S.C. § 136(q)(1)(F); or (3) the label does not

 contain a warning or caution statement which may be necessary and if complied with, together

 with any requirements imposed under section 136a(d) of this title, is adequate to protect health

 and the environment,” 7 U.S.C. § 136(q)(1)(G).

        58.      As a result, a pesticide may be misbranded despite an EPA determination that it

 met FIFRA’s registration criteria. In other words, notwithstanding its registration, a pesticide is

 misbranded if its label contains “false or misleading” statements, has inadequate instructions for

 use, or omits warnings or cautionary statements necessary to protect human health. Similarly, a

 pesticide may be found to cause unreasonable adverse effects on humans when used according to

 the approved label despite a determination by the EPA that it would not.

        59.      Plaintiff does not seek in this action to impose on Defendants any labeling or

 packaging requirement in addition to or different from those required under FIFRA. Any

 allegation in this Complaint that a Defendant breached a duty to provide adequate directions for

 the use of or warnings about Paraquat, breached a duty to provide adequate packaging for



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 Paraquat, concealed, suppressed, or omitted to disclose any material fact about Paraquat, or

 engaged in any unfair or deceptive practice regarding Paraquat, is intended and should be

 construed to be consistent with that alleged breach, concealment, suppression, or omission, or

 unfair or deceptive practice having rendered the Paraquat “misbranded” under FIFRA. However,

 Plaintiff brings claims and seeks relief in this action only under state law, and does not bring any

 claims or seek any relief in this action under FIFRA.

                             ACTS OF SYNGENTA DEFENDANTS

        60.      SAG is a foreign corporation organized and existing under the laws of

 Switzerland, with its principal place of business in Basel, Switzerland. It is a successor by

 merger or continuation of business to its corporate predecessors, including but not limited to ICI.

        61.      SCPLLC is a limited liability company organized under the laws of the State of

 Delaware. It is a successor by merger or continuation of business to its corporate predecessors,

 including but not limited to ICI Americas. SCPLLC is registered with the State of Arkansas,

 Secretary of State to do business in the State of Arkansas.

        62.      SCPLLC or its corporate predecessors have sufficient minimum contacts with the

 State of Arkansas and have purposefully availed themselves of the privileges of conducting

 business in the State of Arkansas, in that they:

                a.      secured and maintained the registration of Paraquat products and other

        pesticides to enable themselves and others to manufacture, distribute, sell, and use these

        products in the State of Arkansas;

                b.      marketed, licensed, advertised, distributed, sold, and delivered Paraquat

        and other pesticides to chemical companies, licensees, distributors, and dealers whom

        they expected to distribute and sell Paraquat and other pesticides in or for use in the State



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        of Arkansas, including the Chevron Defendants and “Syngenta Retailers,” as well as to

        applicators and farmers in the State of Arkansas;

                c.        employed or utilized sales representatives to market and sell Paraquat and

        other pesticides in Arkansas;

                d.        performed and funded the testing of pesticides in the State of Arkansas.

        63.     SCPLLC’s contacts with the State of Arkansas are related to or gave rise to this

 controversy.

        64.     SAG exercises an unusually high degree of control over SCPLLC, such that

 SCPLLC is the agent or mere instrumentality of SAG. SCPLLC’s contacts with Arkansas are

 thus imputed to SAG for purposes of jurisdiction. See City of Greenville, Ill. v. Syngenta Crop

 Prot., Inc., 830 F. Supp. 2d 550 (S.D. Ill. 2011).

                               ACTS OF CHEVRON DEFENDANTS

        65.     Chevron U.S.A., Inc. is a corporation organized under the laws of the State of

 Pennsylvania, with its headquarters and principal place of business in San Ramon, California.

 Chevron U.S.A., Inc. is registered with the State of Arkansas, Secretary of State to do business in

 the State of Arkansas.

        66.     Does One through Sixty are corporate entities which are agents, joint venturers,

 alter-egos, successors-in-interest, and predecessors-in-interest to Chevron U.S.A., Inc. Does One

 through Sixty were each acting within the course and scope of their agency, joint venture, alter-

 ego relationship, and corporate interrelationship. The exact nature, relation, and corporate

 structure of Does One through Sixty have not yet been finally determined. Plaintiff reserves the

 right to amend this complaint with corporate allegations when they are finally determined.

        67.      Chevron U.S.A., Inc. and/or its corporate predecessors and Doe Defendants have



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 sufficient minimum contacts with the State of Arkansas and have purposefully availed

 themselves of the privileges of conducting business in the State of Arkansas, in that they:

                 a.      secured and maintained the registration of Paraquat products and other

         pesticides to enable themselves and others to manufacture, distribute, sell, and use these

         products in the State of Arkansas;

                 b.      marketed, licensed, advertised, distributed, sold, and delivered Paraquat

         and other pesticides to chemical companies, licensees, distributors, and dealers whom

         they expected to distribute and sell Paraquat and other pesticides in or for use in the State

         of Arkansas, including the “Syngenta Retailers,” as well as to applicators and farmers in

         the State of Arkansas;

                 c.      employed or utilized sales representatives to market and sell Paraquat and

         other pesticides in Arkansas;

                 d.      performed and funded the testing of pesticides in the State of Arkansas.

         68.     Chevron U.S.A., Inc.’s contacts with the State of Arkansas are related to or gave

 rise to this controversy.

                      DEFENDANTS’ TORTIOUS CONDUCT RESULTED IN
                      DONALD COX DEVELOPING PARKINSON’S DISEASE

         69.     Plaintiff DONALD COX hereby refers to, incorporates, and re-alleges by this

 reference as though set forth in full, each and every allegation hereinabove and makes them a

 part of the following allegations.

         70.     Plaintiff DONALD COX is a resident of Wynne, Cross County, Arkansas.

         71.     Plaintiff DONALD COX was exposed to Paraquat that was designed,

 manufactured, and distributed by Defendants, and each of them.

         72.     Plaintiff DONALD COX was a farmer and the owner of Donald Cox Farms in


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 Arkansas, where he personally sprayed Paraquat from approximately 1975 to approximately

 2001.

         73.     The Paraquat to which Plaintiff DONALD COX was exposed entered his body

 (1) through absorption or penetration of the skin, mucous membranes, and other epithelial tissues

 (including tissues of the mouth, nose and nasal passages, trachea, and conducting airways,

 particularly where cuts, abrasions, rashes, sores, or other tissue damage are present); and/or (2)

 through the olfactory bulb; and/or (3) through respiration into the lungs; and/or (4) through

 ingestion into the digestive tract of small droplets swallowed after entering the mouth, nose, or

 conducting airways. Once absorbed, the Paraquat entered his bloodstream, attacked his nervous

 system, and was a substantial factor in causing his to suffer Parkinson’s disease.

         74.     Plaintiff DONALD COX was diagnosed with Parkinson’s disease in or about

 2018.

         75.     Plaintiff DONALD COX had no reason to suspect the diagnosis was connected

 to his past Paraquat exposure.

         76.     Plaintiff DONALD COX was never told, either by a medical professional, by

 media, or by the Defendants, that chronic, low-dose exposure to Paraquat could cause him to

 suffer Parkinson’s disease.

         77.    Defendants’ acts and omissions were a legal, proximate, and substantial factor in

 causing Plaintiff DONALD COX to suffer severe and permanent physical injuries, pain, mental

 anguish, and disability, and will continue to do so for the remainder of his life.

         78.    It became necessary for Plaintiff DONALD COX to incur expenses from medical

 care and treatment, and related costs and expenses required in the care and treatment of said

 injuries. Plaintiff DONALD COX’s damages in this respect are presently unascertained as said



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 services are still continuing.

         79.     It will be necessary for Plaintiff DONALD COX to incur future expenses for

 medical care and treatment, and related costs and expenses required for future care and

 treatment. Plaintiff’s damages in this respect are presently unascertained as said services are still

 continuing. Plaintiff prays leave to insert elements of damages in this respect when the same are

 finally determined.

         80.     Plaintiff DONALD COX has suffered general (non-economic) damages in a sum

 in excess of the jurisdictional minimum of this Court.

         81.     Plaintiff DONALD COX has suffered special (economic) damages in a sum in

 excess of the jurisdictional minimum of this Court.

                       FRAUDULENT CONCEALMENT AND TOLLING

         82.     Plaintiffs had no reason to suspect that Plaintiff DONALD COX’s work exposure

 to Paraquat could cause Plaintiff DONALD COX to develop and suffer from Parkinson’s

 disease.

         83.     Defendants took active steps to conceal this harmful side effect of Paraquat. In

 fact, in response to growing concerns regarding the safety of Paraquat, Syngenta published a

 website – www.paraquat.com – for the purpose of convincing the public that Paraquat is safe.

         84.     Defendants’ statements proclaiming the safety of Paraquat and disregarding its

 dangers were designed to mislead the agricultural community and the public at large – including

 Plaintiffs.

         85.     Defendants knew or should have known that Paraquat was a highly toxic

 substance that can cause severe neurological injuries and impairment. However, despite this

 knowledge, Defendants continued to promote its product as safe.



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        86.     Defendants did not make this knowledge known to Plaintiffs or the general

 public. Defendants failed to adequately warn and instruct Plaintiffs of a possible association

 between Paraquat use and Parkinson’s disease.

        87.     Even today, Defendants disavow any connection between Paraquat and

 Parkinson’s disease.

        88.     Defendants’ acts and omissions were a legal, proximate, and substantial factor in

 causing Plaintiff DONALD COX to suffer severe and permanent physical injuries, pain, mental

 anguish, and disability, as well as economic loss, and will continue to do so for the remainder of

 Plaintiff DONALD COX’s life.

        89.     All applicable statutes of limitations have been tolled by Defendants’ knowing

 and active fraudulent concealment and denial of the facts alleged herein throughout the time

 period relevant to this action.

                                         CAUSES OF ACTION

                                               COUNT I

                     STRICT PRODUCTS LIABILITY DESIGN DEFECT

        90.     Plaintiff incorporates by reference each allegation set forth in preceding

 paragraphs as if fully stated herein.

        91.     Defendants are liable to Plaintiff under a products liability theory for marketing a

 defectively-designed product, as well as for failing to adequately warn of the risk of severe

 neurological injury caused by chronic, low-dose exposure to Paraquat.

        92.     At all relevant times, Chevron U.S.A., Inc., the Syngenta Defendants, Does One

 through Sixty, and their corporate predecessors designed, manufactured, distributed, and sold

 Paraquat for use in the State of Arkansas.



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        93.     At all relevant times and places, the Paraquat that Chevron U.S.A., Inc., the

 Syngenta Defendants, Does One through Sixty, and their corporate predecessors designed,

 manufactured, distributed, and sold was used in the intended or a reasonably foreseeable manner.

        94.     Plaintiff was exposed to Paraquat that Chevron U.S.A., Inc., the Syngenta

 Defendants, Does One through Sixty, and their corporate predecessors designed, manufactured,

 distributed, and sold. As a result of that exposure, Paraquat entered Plaintiff’s body causing

 Plaintiff to develop Parkinson’s disease.

        95.     The Paraquat that Chevron U.S.A., Inc., the Syngenta Defendants, Does One

 through Sixty, and their corporate predecessors designed, manufactured, distributed, and sold did

 not perform as safely as an ordinary consumer would have expected it to perform when used in

 the intended or a reasonably foreseeable manner, in that:

                a.      as designed, manufactured, formulated and packaged Paraquat was likely

        to be inhaled, ingested, and absorbed into the bodies of persons who used it, who were

        nearby while it was being used, or who entered fields or orchards where it had been

        sprayed (or areas near where it had been sprayed); and

                b.      when inhaled, ingested, or absorbed into the body, it was likely to cause

        neurological damage that was both permanent and cumulative, and repeated low-dose

        exposures were likely to cause neurodegenerative disease, including Parkinson’s disease.

        96.     Alternatively, Chevron U.S.A., Inc., the Syngenta Defendants, Does One through

 Sixty, and their corporate predecessors’ Paraquat products were defectively designed in that the

 risk of danger inherent in the challenged design outweighed the benefits of such design,

 considering, among other relevant factors, the gravity of the danger posed by the challenged

 design, the likelihood that such danger would occur, the mechanical feasibility of a safer



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 alternative design, the financial cost of an improved design, and the adverse consequences to the

 product and to the consumer that would result from an alternative design.

         97.     The design defect existed when the Paraquat left Chevron U.S.A., Inc., the

 Syngenta Defendants, Does One through Sixty, and their corporate predecessors’ possession and

 control.

         WHEREFORE, Plaintiff respectfully requests that this Court enter judgment in Plaintiff’s

 favor for compensatory and punitive damages, together with interest, costs herein incurred,

 attorneys’ fees and all relief as this Court deems just and proper. Additionally, Plaintiff demands

 a jury trial on all issues contained herein.

                                                 COUNT II

                      STRICT PRODUCTS LIABILITY FAILURE TO WARN

         98.     Plaintiff incorporates by reference each allegation set forth in preceding

 paragraphs as if fully stated herein.

         99.     Defendants are also liable to Plaintiff under a products liability theory based on

 their failure to adequately warn of the risks of Paraquat.

         100. When Chevron U.S.A., Inc., the Syngenta Defendants, Does One through Sixty,

 and their corporate predecessors manufactured and sold the Paraquat to which Plaintiff was

 exposed, it was known or knowable to Chevron U.S.A., Inc., the Syngenta Defendants, Does

 One through Sixty, and their corporate predecessors in light of scientific knowledge that was

 generally accepted in the scientific community that:

                 a.      Paraquat was designed, manufactured, formulated, and packaged such that

         it was likely to be inhaled, ingested, and absorbed into the bodies of persons who used it,

         who were nearby while it was being used, or who entered fields or orchards where it had



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         been sprayed or areas near where it had been sprayed; and

                 b.      when inhaled, ingested, or absorbed into the body, it was likely cause

         latent neurological damage that was both permanent and cumulative, and that repeated,

         low-dose exposures were likely to cause neurodegenerative disease, including

         Parkinson’s disease.

         101. The risk of contracting Parkinson’s disease from chronic, low-dose exposure to

 Paraquat presented a substantial danger to users of Paraquat when the product was used in a

 reasonably foreseeable manner.

         102.    An ordinary consumer would not have recognized the potential risk of permanent,

 irreversible neurological damage, including the risk of contracting Parkinson’s disease, from

 chronic, low-dose exposure to Paraquat.

         103.    Chevron U.S.A., Inc., the Syngenta Defendants, Does One through Sixty, and

 their corporate predecessors failed to warn of the potential risk of permanent, irreversible

 neurological damage from chronic, low-dose exposure to Paraquat, and failed to provide

 adequate instructions regarding avoidance of these risks.

         104.    As a direct and proximate result of Chevron U.S.A., Inc., the Syngenta

 Defendants, Does One through Sixty, and their corporate predecessors’ marketing of a defective

 product, Plaintiff suffered the injuries described in this Complaint.

         WHEREFORE, Plaintiff respectfully requests that this Court enter judgment in Plaintiff’s

 favor for compensatory and punitive damages, together with interest, costs herein incurred,

 attorneys’ fees and all relief as this Court deems just and proper. Additionally, Plaintiff demands

 a jury trial on all issues contained herein.




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                                              COUNT III

                                         NEGLIGENCE

        105.    Plaintiff incorporates by reference each allegation set forth in preceding

 paragraphs as if fully stated herein.

        106.    At all relevant times, Chevron U.S.A., Inc., the Syngenta Defendants, Does One

 through Sixty, and their corporate predecessors designed, manufactured, distributed, and sold

 Paraquat for use in the State of Arkansas.

        107.    Plaintiff DONALD COX was exposed to Paraquat in the State of Arkansas that

 Chevron U.S.A., Inc., the Syngenta Defendants, Does One through Sixty, and their corporate

 predecessors manufactured and sold.

        108.    The Paraquat to which Plaintiff was exposed was used in the intended or a

 reasonably foreseeable manner.

        109.    At all times relevant to this claim, in researching, designing, manufacturing,

 packaging, labeling, distributing, and selling Paraquat, Chevron U.S.A., Inc., the Syngenta

 Defendants, Does One through Sixty, and their corporate predecessors owed a duty to exercise

 ordinary care for the health and safety of the persons whom it was reasonably foreseeable could

 be exposed to Paraquat, including Plaintiff DONALD COX.

        110.    When Chevron U.S.A., Inc., the Syngenta Defendants, Does One through Sixty,

 and their corporate predecessors designed, manufactured, packaged, labeled, distributed, and

 sold the Paraquat to which Plaintiff was exposed, it was reasonably foreseeable that Paraquat:

                a.      was likely to be inhaled, ingested, and absorbed into the bodies of persons

        who used it, who were nearby while it was being used, or who entered fields or orchards

        where it had been sprayed or areas near where it had been sprayed; and



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               b.      when inhaled, ingested, or absorbed into the bodies of persons who used

        it, who were nearby while it was being used, or who entered fields or orchards where it

        has been sprayed or areas near where it has been sprayed, it was likely to cause

        neurological damage that was both permanent and cumulative, and repeated exposures

        were likely to cause neurodegenerative disease, including Parkinson’s disease.

        111.   In breach of the aforementioned duty to Plaintiff, Chevron U.S.A., Inc., the

 Syngenta Defendants, Does One through Sixty, and their corporate predecessors negligently:

               a.      failed to design, manufacture, formulate, and package Paraquat to make it

        unlikely to be inhaled, ingested, and absorbed into the bodies of persons who used it, who

        were nearby while it was being used, or who entered fields or orchards where it had been

        sprayed or areas near where it had been sprayed;

               b.      designed, manufactured, and formulated Paraquat such that it was likely to

        cause neurological damage that was both permanent and cumulative, and repeated

        exposures were likely to cause clinically significant neurodegenerative disease, including

        Parkinson’s disease;

               c.      failed to conduct adequate research and testing to determine the extent to

        which exposure to Paraquat was likely to occur through inhalation, ingestion, and

        absorption into the bodies of persons who used it, who were nearby while it was being

        used, or who entered fields or orchards where it had been sprayed or areas near where it

        had been sprayed;

               d.      failed to conduct adequate research and testing to determine the extent to

        which Paraquat spray drift was likely to occur, including its propensity to drift, the

        distance it was likely to drift, and the extent to which Paraquat spray droplets were likely



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        to enter the bodies of persons spraying it or other persons nearby during or after spraying;

                e.      failed to conduct adequate research and testing to determine the extent to

        which Paraquat was likely to cause or contribute to cause latent neurological damage that

        was both permanent and cumulative, and the extent to which repeated exposures were

        likely to cause or contribute to cause clinically significant neurodegenerative disease,

        including Parkinson’s disease;

                f.      failed to direct that Paraquat be used in a manner that would have made it

        unlikely to be inhaled, ingested, and absorbed into the bodies of persons who used it, who

        were nearby while it was being used, or who entered fields or orchards where it had been

        sprayed or areas near where it had been sprayed; and

                g.      failed to warn that Paraquat was likely to cause neurological damage that

        was both permanent and cumulative, and repeated exposures were likely to cause

        clinically significant neurodegenerative disease, including Parkinson’s disease.

        112.    Chevron U.S.A., Inc., the Syngenta Defendants, Does One through Sixty, and

 their corporate predecessors knew or should have known that users would not realize the dangers

 of exposure to Paraquat and negligently failed to take reasonable steps to prevent the foreseeable

 risk of harm from exposure to Paraquat.

        113.    As a direct and proximate result of Chevron U.S.A., Inc., the Syngenta

 Defendants, Does One through Sixty, and their corporate predecessors’ negligence, Plaintiff

 suffered the injuries described in this Complaint.

        114.    Additionally, in the course of designing, manufacturing, packaging, labeling,

 distributing, and selling Paraquat, Chevron U.S.A., Inc., the Syngenta Defendants, Does One

 through Sixty, and their corporate predecessors violated laws, statutes, and regulations, including



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 but not limited to sections of Chapter 20, Arkansas Pesticide Use and Application Act.

         115.    Plaintiff was a member of the class of persons that said laws, statutes, and

 regulations were intended to protect.

         116.    Chevron U.S.A., Inc., the Syngenta Defendants, Does One through Sixty, and

 their corporate predecessors’ violations of said laws, statutes, and regulations were also

 substantial factors in causing Plaintiff’s injuries.

         117.    The injuries that resulted from Chevron U.S.A., Inc., the Syngenta Defendants,

 Does One through Sixty, and their corporate predecessors’ violations were the kind of

 occurrence the laws, statutes, and regulations were designed to prevent.

         WHEREFORE, Plaintiff respectfully requests that this Court enter judgment in Plaintiff’s

 favor for compensatory and punitive damages, together with interest, costs herein incurred,

 attorneys’ fees and all relief as this Court deems just and proper. Additionally, Plaintiff demands

 a jury trial on all issues contained herein.

                                                COUNT IV

                BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY

         118.    Plaintiff incorporates by reference each allegation set forth in preceding

 paragraphs as if fully stated herein.

         119.    At all relevant times, Chevron U.S.A., Inc., the Syngenta Defendants, Does One

 through Sixty, and their corporate predecessors engaged in the business of designing,

 manufacturing, distributing, and selling Paraquat and other restricted-use pesticides and held

 themselves out as having special knowledge or skill regarding Paraquat and other restricted-use

 pesticides.

         120.    At all relevant times, Chevron U.S.A., Inc., the Syngenta Defendants, Does One



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 through Sixty, and their corporate predecessors designed, manufactured, distributed, and sold

 Paraquat for use in the State of Arkansas.

         121.    Plaintiff was exposed to Paraquat in the State of Arkansas that Chevron U.S.A.,

 Inc., the Syngenta Defendants, Does One through Sixty, and their corporate predecessors

 designed, manufactured, distributed, and sold.

         122.    The Paraquat to which Plaintiff DONALD COX was exposed was not fit for the

 ordinary purposes for which it was used, and in particular:

                 a.      it was designed, manufactured, formulated, and packaged such that it was

         likely to be inhaled, ingested, and absorbed into the bodies of persons who used it, who

         were nearby while it was being used, or who entered fields or orchards where it had been

         sprayed or areas near where it had been sprayed; and

                 b.      when inhaled, ingested, or absorbed into the bodies of persons who used

         it, who were nearby while it was being used, or who entered fields or orchards where it

         had been sprayed or areas near where it had been sprayed, it was likely to cause

         neurological damage that was both permanent and cumulative, and repeated exposures

         were likely to cause neurodegenerative disease, including Parkinson’s disease.

         123.    As a direct and proximate result of Chevron U.S.A., Inc., the Syngenta

 Defendants, Does One through Sixty, and their corporate predecessors’ breach of implied

 warranty, Plaintiff suffered the injuries herein described.

         WHEREFORE, Plaintiff respectfully requests that this Court enter judgment in Plaintiff’s

 favor for compensatory and punitive damages, together with interest, costs herein incurred,

 attorneys’ fees and all relief as this Court deems just and proper. Additionally, Plaintiff demands

 a jury trial on all issues contained herein.



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                                             COUNT V

                                         PUNITIVE DAMAGES

         124.    Plaintiff incorporates by reference each allegation set forth in preceding

 paragraphs as if fully stated herein.

         125.    Defendants’ conduct as alleged herein was done with oppression, fraud, and

 malice. Defendants were fully aware of the safety risks of Paraquat. Nonetheless, Defendants

 deliberately crafted their label, marketing, and promotion of Paraquat to mislead farmers and

 consumers.

         126.    This was not done by accident or through some justifiable negligence. Rather,

 Defendants knew that it could turn a profit by convincing the agricultural industry that Paraquat

 did not cause Parkinson’s Disease, and that full disclosure of the true risks of Paraquat would

 limit the amount of money Defendants would make selling Paraquat in Arkansas. Defendants’

 objective was accomplished not only through its misleading labeling, but through a

 comprehensive scheme of selective fraudulent research and testing, misleading advertising, and

 deceptive omissions as more fully alleged throughout this Complaint. Plaintiff was denied the

 right to make an informed decision about whether to purchase, use, or be exposed to an

 herbicide, knowing the full risks attendant to that use. Such conduct was done with conscious

 disregard of Plaintiff’s rights.

         127.     There is no indication that Defendants will stop their deceptive and unlawful

 marketing practices unless they are punished and deterred. Accordingly, Plaintiff requests

 punitive damages against the Defendants for the harms caused to Plaintiff.

         WHEREFORE, Plaintiff respectfully requests that this Court enter judgment in Plaintiff’s

 favor for compensatory and punitive damages, together with interest, costs herein incurred,



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 attorneys’ fees and all relief as this Court deems just and proper. Additionally, Plaintiff demands

 a jury trial on all issues contained herein.

                                       PRAYER FOR RELIEF

         WHEREFORE, Plaintiff requests this Court to enter judgment in Plaintiff’s favor and

 against the Defendants for:

                 a.      actual or compensatory damages in such amount to be determined at trial

         and as provided by applicable law;

                 b.      exemplary and punitive damages sufficient to punish and deter the

         Defendants and others from future fraudulent practices;

                 c.      pre-judgment and post-judgment interest;

                 d.      costs including reasonable attorneys’ fees, court costs, and other litigation

         expenses; and

                 e.      any other relief the Court may deem just and proper.

                                      JURY TRIAL DEMAND

          Plaintiff demands a trial by jury on all of the triable issues within this pleading.



 Dated: September 13, 2024                        Respectfully submitted,

                                                   /s/ LaRuby May
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